Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 1 of 33 Page ID
                                 #:4589



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      Telephone: (323) 639-4455
  5
      Attorney for Plaintiff Covves, LLC
  6

  7                        UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9

 10    COVVES, LLC,                           Case No. 2:18-CV-8518-RGK-AFM
 11                   Plaintiff,              DECLARATION OF STEPHEN
                                              MCARTHUR IN SUPPORT OF
 12          v.                               PLANTIFF COVVES, LLC’S
                                              MOTION TO REOPEN CASE
 13    DILLARD’S, INC. a                      AFTER BREACH OF
       Delaware Corporation;                  SETTLEMENT AGREEMENT
 14    KOHL’S CORPORATION,
       a Wisconsin Corporation;
 15    SAKS & COMPANY LLC,
       a Delaware Corporation;
 16    TARGET BRANDS, INC. a
       Minnesota Corporation;
 17    EXPRESS, INC., a
       Delaware Corporation;
 18    TILLY’S, INC. a Delaware
       Corporation;
 19    NORDSTROM, INC., a Washington
       Corporation;
 20    WEST MARINE, INC., a Delaware
       Corporation,
 21    and
       ZULILY, INC. a
 22    Delaware Corporation.
 23                      Defendants.
 24

 25

 26

 27

 28
                                                         MCARTHUR DECL. ISO PLANTIFF’S
                                                                      MOTION TO REOPEN
                                                            Case No. 2:18-cv-8518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 2 of 33 Page ID
                                 #:4590



  1         I, Stephen McArthur, declare as follows:
  2         1.     I am an attorney at law, duly admitted into practice before the State of
  3   California and this Court. I am an attorney with The McArthur Law Firm, P.C.,
  4   counsel for Plaintiff Covves, LLC (“Covves”). I make this Declaration in support of
  5   Covves’ Motion to Reopen Case After Breach of Settlement Agreement
  6   (“Motion”). The matters set forth herein are of my own personal knowledge, and if
  7   called upon to testify as to such matters, I could and would do so.
  8         2.     Covves filed the instant lawsuit against both BigMouth Inc. and
  9   BigMouth LLC (together, “BigMouth”) and the Retailer Defendants in the Central
 10   District of California. Due to BigMouth disputing jurisdiction in this Court, Covves
 11   dismissed BigMouth without prejudice and filed a separate lawsuit against
 12   BigMouth in its home court in the Southern District of Indiana.
 13         3.     Attached hereto as Exhibit A is a true and correct copy of an excerpt of
 14   Retailer Defendants’ initial disclosures identifying that BigMouth was
 15   indemnifying each Retailer Defendant. BigMouth and Retailer Defendants shared
 16   the same counsel at KL Gates, LLP, and their counsel stated in discussions that
 17   BigMouth was in control of the litigation and was fully indemnifying and defending
 18   all Retailer Defendants.
 19         4.     Attached hereto as Exhibit B is a true and correct copy of the
 20   settlement agreement entered into between Covves and BigMouth and Retailer
 21   Defendants (the “Agreement”). The document has had confidential information
 22   such as the payment amounts redacted.
 23         5.     BigMouth paid Covves the Initial Payment, as defined in the
 24   Agreement. However, BigMouth failed to make the first Quarterly Payment, which
 25   was due September 30, 2020.
 26         6.     In response to BigMouth’s failure to pay, Covves sent a notice of
 27   default as contemplated by the Agreement on October 6, 2020, and Defendants’
 28   counsel, Mr. Nickerson, confirmed receipt the following day. Attached hereto as
                                                                MCARTHUR DECL. ISO PLAINITFF’S
                                                                             MOTION TO REOPEN
                                                -1-                Case No. 2:18-cv-8518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 3 of 33 Page ID
                                 #:4591



  1   Exhibit C is a true and correct copy of Covves’ notice of default with confidential
  2   information redacted.
  3         7.     In a subsequent phone call, Mr. Nickerson stated he no longer
  4   represented BigMouth but still represented Retailer Defendants. I therefore
  5   contacted BigMouth’s new counsel, who informed me that BigMouth had been
  6   taken into receivership by an Indiana court and would not pay the settlement
  7   amount owed. BigMouth’s counsel stated that BigMouth will not pay Covves the
  8   remaining six Quarterly Payments owed under the settlement agreement.
  9         8.     Attached hereto as Exhibit D is a true and correct copy of a news
 10   article covering BigMouth’s insolvency and receivership.
 11         9.     I have been informed by licensed Indiana counsel and believe that the
 12   Indiana state court handling BigMouth’s receivership has implemented a stay
 13   barring third parties from filing suit against BigMouth and barring BigMouth from
 14   participating in any such suit. Covves therefore has no option for obtaining
 15   additional payment of the settlement amounts owed from BigMouth, and BigMouth
 16   has no ability to pay.
 17         10.    During the course of discovery in this case, Covves learned that Target
 18   alone had 98 percent of total sales of infringing products, while all other Retailer
 19   Defendants combined had just two percent of total sales. Because of this, Covves
 20   extended very low settlement offers to the non-Target Retailer Defendants with
 21   minimal sales. However, Defendants’ counsel stated that BigMouth was fully
 22   covering all Retailer Defendants’ legal fees and BigMouth rejected every settlement
 23   offer made to individual Retailer Defendants.
 24         I declare under penalty of perjury under the laws of the State of California
 25   that the foregoing is true and correct.
 26         Executed on November 20, 2020 at Beverly Hills, California.
 27
                                                /s/ Stephen McArthur
 28
                                                                 MCARTHUR DECL. ISO PLAINITFF’S
                                                                              MOTION TO REOPEN
                                                  -2-               Case No. 2:18-cv-8518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 4 of 33 Page ID
                                 #:4592



                              EXHIBIT A
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 5 of 33 Page ID
                                 #:4593


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 9   F: (959) 253-0902

10
     Attorneys for Defendants
11

12                               UNITED STATES DISTRICT COURT

13                              CENTRAL DISTRICT OF CALIFORNIA

14   COVVES, LLC,                                Case No. 2:18-cv-08518-RGK-AFM

15   Plaintiff,                                  DEFENDANTS’ RULE 26(a) INITIAL
                                                 DISCLOSURES
16   vs.
                                                 Honorable R. Gary Klausner
17   DILLARD’S, INC. a Delaware
     Corporation;
18   KOHL’S CORPORATION, a
     Wisconsin Corporation;
19   SAKS & COMPANY LLC., a
     Delaware Corporation;
20   TARGET BRANDS, INC. a Minnesota
     Corporation;
21   EXPRESS INC., a Delaware
     Corporation;
22   TILLY’S, INC. a Delaware
     Corporation;
23   NORDSTROM, INC., a Washington
     Corporation;
24   WEST MARINE, INC., a Delaware
     Corporation,
25   and
     ZULILY, INC. a Delaware
26   Corporation.

27   Defendants.

28


     DEFENDANTS’ RULE 26(a) INITIAL DISCLOSURES                    CASE NO. 2:18-CV-08518
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 6 of 33 Page ID
                                 #:4594


 1      D.     Liability Insurance
 2           Defendants are not parties to any insurance agreements that are relevant to this action.
 3   Defendants are each parties to indemnification agreements with BigMouth that are relevant to this
     action.
 4

 5
                                     [SIGNATURE PAGE FOLLOWS]
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      DEFENDANTS’ RULE 26(a) INITIAL DISCLOSURES                         CASE NO. 2:18-CV-08518
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 7 of 33 Page ID
                                 #:4595


 1   DATED: April 23, 2019

 2                                          K&L GATES LLP

 3                                          /s/ Morgan T. Nickerson
                                            Morgan T. Nickerson
 4                                          Michael E. Zeliger
 5                                          Ranjini Acharya
                                            Caitlin C. Blanche
 6
                                            Attorneys for Defendants
 7                                          Dillard’s, Inc.
                                            Kohl’s Corporation
 8                                          Saks & Company, LLC,
                                            Target Corporation,
 9                                          Express, Inc.,
                                            Tilly’s, Inc.,
10                                          Nordstrom, Inc.,
                                            West Marine, Inc., and
11                                          Zulily, Inc.

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      DEFENDANTS’ RULE 26(a) INITIAL DISCLOSURES              CASE NO. 2:18-CV-08518
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 8 of 33 Page ID
                                 #:4596



                              EXHIBIT B
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 9 of 33 Page ID
                                 #:4597
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 10 of 33 Page ID
                                  #:4598
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 11 of 33 Page ID
                                  #:4599
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 12 of 33 Page ID
                                  #:4600
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 13 of 33 Page ID
                                  #:4601
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 14 of 33 Page ID
                                  #:4602
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 15 of 33 Page ID
                                  #:4603
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 16 of 33 Page ID
                                  #:4604
               Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 17 of 33 Page ID
                                                 #:4605



                                                       EXHIBIT 1

The Accused Products include the products depicted below, regardless of coloration or exterior graphics. The list of product
numbers is not limiting, and the Accused Products include any of these floats whether referred to by these or any other
product number.
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 18 of 33 Page ID
                                  #:4606



   1                                        EXHIBIT 2
   2
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   8   Morgan Nickerson                      Caitlin C. Blanche
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   9   K&L GATES LLP                         K&L GATES LLP
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       Telephone: (617) 261-3100             Telephone: (949) 623-3526
  11
       Attorneys for Defendants
  12

  13                        UNITED STATES DISTRICT COURT
  14                       CENTRAL DISTRICT OF CALIFORNIA
  15
       COVVES, LLC,                              Case No. 2:18-CV-8518-RGK-AFM
  16
                       Plaintiff,                JOINT STIPULATION OF
  17                                             VOLUNTARY DISMISSAL
              v.                                 WITHOUT PREJUDICE
  18
       DILLARD’S, INC. a                         Hon. R. Gary Klausner
  19   Delaware Corporation; et al.              United States District Court Judge
                                                 Trial Date: January 14, 2020
  20                      Defendants.            Time: 9:00 a.m.
                                                 Courtroom: 850, 255 E. Temple St.,
  21                                             Los Angeles, CA 90012
  22

  23

  24

  25

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                                                              JOINT STIPULATION OF DISMISSAL
                                                                           WITHOUT PREJUDICE
                                                                  Case No. 2:18-cv-8518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 19 of 33 Page ID
                                  #:4607



   1         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
   2   Plaintiff Covves, LLC (“Covves”) and Defendants Dillard’s, Inc., Kohl’s
   3   Corporation, Saks & Company, LLC, Target Brands, Inc., Express, Inc., Tilly’s,
   4   Inc., Nordstrom, Inc., West Marine, Inc., and Zulily, Inc. (together, “Defendants”)
   5   hereby stipulate as follows:
   6   1.    Covves and Defendants’ indemnitors, BigMouth Inc. and BigMouth LLC
   7         (together, “BigMouth”), have entered into a confidential settlement
   8         agreement providing for payment of certain sums by BigMouth to Covves,
   9         the last of which is due approximately two years from January 7, 2020.
  10   2.    Upon payment in full of the sums owing to Covves by BigMouth, Covves
  11         agrees to the voluntary dismissal with prejudice of any and all claims against
  12         Defendants that have been asserted in this case.
  13   3.    The parties have agreed that until such time as the final payment is
  14         completed, the Court shall retain jurisdiction to enforce the settlement
  15         agreement and the parties shall agree to dismiss the action without prejudice.
  16   4.    Each party will bear its own attorneys’ fees and costs.
  17

  18
        DATED: January __, 2020                   THE MCARTHUR LAW FIRM, PC
  19

  20                                              By:
                                                        Stephen McArthur
  21                                                    Thomas Dietrich
                                                        Attorneys for Plaintiff Covves, LLC
  22

  23    DATED: January __, 2020                   K&L GATES LLP
  24
                                                  By:
  25                                                    Morgan Nickerson
                                                        Caitlin C. Blanche
  26                                                    Attorneys for Defendants
  27

  28
                                                                  JOINT STIPULATION OF DISMISSAL
                                                                               WITHOUT PREJUDICE
                                                 -1-                  Case No. 2:18-cv-8518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 20 of 33 Page ID
                                  #:4608



                                            EXHIBIT 3


                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


                                                    ) Case No. 1:18-cv-03307-JMS-TAB
                                                    )
  COVVES, LLC,                                      )
                                                    )
                      Plaintiff,                    )
                                                    )
          v.                                        )
                                                    )
  BIGMOUTH INC., an Indiana                         )
  Corporation; and BIGMOUTH LLC., an                )
  Indiana Limited Liability Company                 )
                                                    )
                                                    )
                                                    )



         JOINT STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE


         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff

 Covves, LLC (“Covves”) and Defendants BigMouth Inc. and BigMouth LLC (together,

 “Defendants”) hereby stipulate as follows:

         1.      Covves and Defendants have entered into a confidential settlement agreement

 providing for payment of certain sums by Defendants to Covves, the last of which is due

 approximately two years from January 7, 2020.

         2.      Upon payment in full of the sums owing to Covves by Defendants, Covves agrees

 to the voluntary dismissal with prejudice of any and all claims against Defendants that have been

 asserted in this case.

                                                      1
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 21 of 33 Page ID
                                  #:4609



        3.      The parties have agreed that until such time as the final payment is completed, the

 Court shall retain jurisdiction to enforce the settlement agreement and the parties shall agree to

 dismiss the action without prejudice.

        4.      Each party will bear its own attorneys’ fees and costs.



  _____________________                             _____________________
  Stephen C. McArthur (pro hac vice)                Morgan Nickerson (pro hac vice)
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  Tel. (323) 639-4455                               Tel. (617) 261-3100

  Attorneys for Plaintiff                           Attorneys for Defendants
  Covves, LLC                                       BigMouth Inc. and BigMouth LLC


  Dated: January ---, 2020




                                                      2
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 22 of 33 Page ID
                                  #:4610



                              EXHIBIT C
  Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 23 of 33 Page ID
                                    #:4611
Stephen C. McArthur
9465 Wilshire Blvd #300         M©ARTHUR                                                         (323) 639-4455
                                                                                       stephen@smcarthurlaw.com
Beverly Hills, CA 90212


                                           LAW FIRM
                                              October 6, 2020

     Via Postal Mail and Email
     Attn: Morgan Nickerson
     K&L Gates LLP
     1 Lincoln St.
     Boston, MA 02111
     Morgan.Nickerson@klgates.com

              Re:         NOTICE OF DEFAULT ON SETTLEMENT AGREEMENT

     Dear Morgan,

     This provides written notice of breach of the Settlement Agreement and Release (the
     “Agreement”) entered into between our client, Covves, LLC (“Covves”), and your clients,
     BigMouth Inc. and BigMouth LLC (together, “BigMouth”) together with Dillard’s, Inc., Kohl’s
     Corporation, Saks & Company LLC, Target Brands, Inc., Express, Inc., Tilly’s Inc., Nordstrom,
     Inc., West Marine, Inc., and Zulily, Inc. (collectively with BigMouth, the “Defendants”). A copy
     of the Agreement is attached to this letter.

     Under the Agreement, BigMouth was required to pay to Covves the first quarterly payment of
                  on September 30, 2020, by wiring the funds to our firm’s IOLTA account. See
     Agrmt. § 1.1. That date has passed, and BigMouth has not made the mandated quarterly
     payment. BigMouth is therefore in breach of the Agreement, and compounding interest at a rate
     of              will accrue on the late payment. Agrmt. § 1.1.

     This letter further provides notice, that in accordance with section 3.3 of the Agreement, if
     BigMouth is more than 30 days late on the quarterly payment, Covves will promptly file a
     motion to reinstate and reopen the California Action and/or the Indiana Action, as defined in the
     Agreement. Covves will continue to pursue its claims for damages from infringement by
     Defendants, including Target whose potential damages in this case prior to the settlement
     exceeded              . Given that Target has continued to sell its infringing Large Unicorn Float,
     Lil’ Float, and Beverage Boats throughout the spring and summer of 2020, damages have
     increased since the January 2020 settlement. As the Agreement specifies, the initial payment by
     BigMouth cannot be counted or accrued against Covves to reduce the amount of any judgment
     against Defendants in the California Action.

     We understand BigMouth may be having financial difficulties. However, the company is still
     doing business and selling its floats to Target and other Defendants as well as on Amazon. In
     addition, even if BigMouth is not capable of making the payments required by the Agreement,
     the other Defendants, particularly Target, should take an interest in ensuring those payments are
     made. Otherwise, they will be brought back into litigation in California, facing trial after having
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 24 of 33 Page ID
                                  #:4612
                                                                                    Page 2



 lost on summary judgment—this time without BigMouth indemnifying them. I hope this resolves
 the contractual breach and that Defendants can make the required quarterly payment and
 continue to abide by the agreed-upon payment schedule.

 Please contact me by email at stephen@smcarthurlaw.com with any questions.

                                                   Best Regards,

                                                   THE MCARTHUR LAW FIRM, PC


                                                   /s/ Stephen McArthur
                                                   Stephen McArthur


 Att.: Settlement Agreement and Release




               The McArthur Law Firm • (323) 639-4455 • stephen@smcarthurlaw.com
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 25 of 33 Page ID
                                  #:4613



                              EXHIBIT D
    Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 26 of 33 Page ID
                                      #:4614



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Novelty-products firm BigMouth
falls silent after years of hype
June 5, 2020 | Susan Orr

KEYWORDS BANKING & FINANCE / MANUFACTURING /
PRIVATE EQUITY

                                                             Indianapolis-based investment
                                                             firm CID Capital was brimming
                                                             with optimism when it acquired
                                                             Connecticut-based novelty
                                                             products company BigMouth Inc.
                                                             in November 2016 for an
                                                             undisclosed sum. It said in a
                                                       




    In 2017, then-CEO Frank Carpenito was upbeat about
    BigMouth’s products and its future. (Photo courtesy of   statement at the time that
    the Hartford Business Journal)
                                                             BigMouth was “still in the early
                                                             pages of their success story.”

And in a 2017 interview with the Hartford Business Journal,
BigMouth’s then-CEO said the company was aiming for
$50 million in revenue that year, with annual revenue of
$75 million to $100 million possible over the next few years.

That’s not how things turned out for BigMouth, whose product
lineup includes inflatable pool floats, novelty mugs and gag
items like camouflage-patterned toilet paper.
Case 2:18-cv-08518-RGK-AFM Document 182-2 Filed 11/20/20 Page 27 of 33 Page ID
                                  #:4615
The company defaulted on a debt payment April 1 and its
board and CEO resigned a few weeks later. By the end of that
month, a partner in the deal, Charlotte, North Carolina-based
Capitala Private Advisors LLC, had filed suit against BigMouth,
and a Marion County judge had put BigMouth under the control
of a receiver who is now liquidating the company.

In a document included in the court filing, BigMouth cites
various reasons for its financial troubles—including sharp sales
declines caused by stay-at-home orders.

Observers, though, offer mixed opinions about how the
COVID-19-related economic downturn might affect other
private-equity-backed firms, whose financing typically includes
a significant amount of debt. And they don’t foresee a wave of
business failures, even in the consumer-products sector, which
is vulnerable to economic fluctuations.

“This is a one-time event,” said Faraz Abbasi,
senior partner at Indianapolis-based private
equity firm Centerfield Capital Inc. “We feel, [in]
the third and fourth quarter, things are going to
start coming back.”

BigMouth, though, doesn’t appear to be headed
for any comeback.                                              Abbasi




From the outside, it’s difficult to get a complete picture of
where things went wrong.

CID Capital Managing Director Scot Swenberg, who was a
member of BigMouth’s three-person board of directors until
April 16, did not respond to multiple phone messages and e-
mails.
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                                  #:4616
BigMouth’s court-appointed receiver, Gregg Stewart of Jensen
Beach, Florida-based Rinnovo Management LLC, declined to
comment, as did attorneys for Capitala, the North Carolina firm
that has sued BigMouth in Marion Superior Court. The docket
in the case does not yet include information on who will serve
as BigMouth’s legal counsel.

Multiple troubles

But according to court documents, BigMouth’s troubles began
before COVID-19.

In October 2018, Los Angeles-based Covves LLC filed a
patent infringement suit against BigMouth, claiming it copied
the design of Covves’ popular unicorn pool float and inflatable
unicorn cup holder. The case was handled in U.S. District
Court’s Southern Indiana district in Indianapolis.

On Jan. 10 of this year, Covves and BigMouth reached a
confidential settlement in which BigMouth agreed to pay
Covves an undisclosed sum over the next two years.

When CID acquired BigMouth from its founder, Steve
Wampold, in 2016, financing for the deal came from both
Capitala and Tampa, Florida-based Cadence Bank. That
financing included a $25 million term loan and a revolving
credit commitment of $4 million.

By Jan. 30 of this year, that original credit agreement had been
amended twice and Cadence Bank was no longer part of the
deal.

BigMouth missed a debt payment April 1, putting the company
in default under the terms of that agreement.
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                                  #:4617
BigMouth appointed Stewart, of
Rinnovo, chief restructuring officer on
April 13 for purposes of liquidating the
company.

In a document authorizing this action,
the board wrote that BigMouth “has
suffered significant setbacks and
challenges including, among others:
numerous customers canceled,
delayed or significantly reduced
orders for 2020 delivery; sharp decline
in retailer sell-through of the
company’s core products resulting
from state mandated stay at home
orders, and company lack of liquidity
necessary for ongoing operations.”

On April 16, BigMouth’s entire board
—Wampold, Swenberg and CID
Managing Director Corey Heck—
resigned. The company’s CEO, whose
name is not included in court filings,
also resigned.

Capitala filed suit against BigMouth
April 23, claiming that BigMouth owes
it $22.9 million. The amount, Capitala
said in the filing, includes $20.7 million
in principal on the term loan, $2 million
in principal on the revolving credit,
plus interest on both.

The same day, Capitala asked the
court to appoint Stewart as receiver.
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                                  #:4618
On April 25, the court did so.

Mixed bag

Though BigMouth blamed a decline in
retail sales for its woes, that does not
mean all consumer-products
companies or all private-equity-backed companies are
suffering right now, Centerfield’s Abbasi said.

Centerfield’s investment portfolio currently includes 26
companies in various industries. About a third of those
companies are struggling right now with 40% to 50% sales
declines, Abbasi said. But another third are holding relatively
steady and the rest are performing well.

Abbasi serves as chairman of the Small Business Investors
Alliance, a private-equity industry group. Based on his
conversations with other firms, they are also seeing similar
results among their portfolio companies.

Food manufacturers and food distributors are generally doing
well right now, Abbasi said, and companies that are considered
essential businesses during the shutdown are mostly holding
their own. Others are not faring so well, including a Centerfield-
owned event rental business in North Carolina that has
furloughed most of its employees.

Pitchbook, a Morningstar company that analyzes public and
private equity data, offered a mixed outlook in a recent report,
“COVID-19’s Influence on Private Market Strategies and
Allocators.”

“Facing COVID-19 fears in addition to already reduced
expectations, PE fund managers appear to be headed for a
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difficult time. We believe they are likely to fare better than
others might anticipate given the circumstances,” the report
said.

The report also noted that private-equity-backed firms that are
consumer-focused will likely be hardest hit because
widespread layoffs, furloughs and economic uncertainty will
depress consumer spending.

The effect on consumer products companies will depend on
the price and type of objects they sell, Abbasi said. “Obviously,
consumers have been hurt by high unemployment and [less]
discretionary income.”

Moderately priced items will likely be hurt less, he said, and
some items, especially at-home entertainment goods like
board games or backyard game equipment, or things sold
primarily online, are selling well.

Lighter on debt

Steve Jones, a professor of finance at Indiana
University’s Kelley School of Business at IUPUI,
also said he doesn’t expect private-equity-backed
firms to struggle any more than other companies.

In a typical private equity deal, a private equity      Jones

firm takes a controlling stake in a company
through a combination of equity and debt—debt the company
itself, not the private equity firm, is responsible for repaying.

During the Great Recession, Jones said, deals were more
heavily weighted toward debt, and “some of the firms really got
themselves into trouble.”
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As a result, he said, private equity deals today tend to rely less
on debt, making the deals less risky if the company hits a
rough patch.

Private-equity ownership also offers some advantages, Jones
said—namely, that the companies can turn to their private-
equity owners for guidance in tough times. “The model is
actually a model that works fairly well in a crisis for that
reason.”

At Centerfield, Abbasi said he and his colleagues are spending
much more time communicating with their portfolio companies’
managers than usual. “We are on weekly calls right now. Three
months ago, we used to do monthly calls.”

Centerfield’s portfolio companies are using a variety of
approaches to weather the economic downturn, he said. Many
have secured forgivable loans through the U.S. Small
Business Administration’s Paycheck Protection Program.
Companies are also instituting management pay cuts and
negotiating with lenders.

“Anything the board can do to spruce up liquidity in these times
is what the boards are focused on,” Abbasi said.

In some cases, Centerfield has invested additional equity in its
portfolio companies, a strategy Abbasi predicts might become
more widespread. “Equity infusion is going to get a lot more
common down the road if the COVID-19 shutdown lasts a lot
longer than it already has.”

Coming into the pandemic, private equity firms were generally
flush with capital, so they have the ability to help their portfolio
companies financially. The tough part, Abbasi said, is
determining whether it makes sense to do so.
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“There is liquidity [available] but the challenge is, do you want
to put good money after bad?” Abbasi said. “It becomes a very
difficult situation if you’re seeing a company go down. We can
support it only to a certain extent.”•
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